                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                               November 12, 2015
                              No. 10-15-00136-CR
                             MICHAEL SHAWN SADLER
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                        From the 220[th] District Court
                             Bosque County, Texas
                         Trial Court No. 14104-A-BCCR
                                       
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JUDGMENT

This Court has reviewed the briefs of the parties and the record as relevant to the issues raised in this proceeding and finds that no reversible error is presented.  Accordingly, the trial court's judgment signed on March 12, 2015 is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
PER CURIAM
SHARRI ROESSLER, CLERK

By: ___________________________
				Nita Whitener, Deputy Clerk
